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  IN THE UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA


UNITED STATES                         :
                                      :
v.                                    : Criminal No.: 17-CR-161 (TSC)
                                      :
HINA ALVI                             :
_____________________________________ :

                     ORDER TO SEAL PUBLIC CRIMINAL RECORDS

       Upon consideration of the movant's motion to expunge, the Court hereby finds that it is in
the interests of justice to seal the public criminal records of the movant’s arrest and any and all
related court proceedings.
       Accordingly, it is this ____ day of ___________, 2018, ORDERED that
       1.      Movant's motion to seal public criminal records in this case is hereby
GRANTED;
       2.      The prosecutor, the law enforcement agency responsible for movant's arrest, the
Metropolitan Police Department, the Federal Bureau of Investigation, the Pretrial Services
Agency, the U.S. Bureau of Prisons, the Court Services and Offender Supervision Agency and
the Clerk of the United States District Court for the District of Columbia shall seal all of their
publicly available records;
               a. except that the Clerk shall be entitled to retain any and all records relating to
                   the movant's arrest, related court proceedings, or conviction in a nonpublic
                   file;
               b. except that in this case which involved co-defendants only those records, or
                   portions thereof, relating solely to the movant be redacted from the co-
                   defendant’s records;
       3.      The prosecutor, any law enforcement agency, and any pretrial, corrections, or
community supervision agency office shall file a certification with the Court within 90 days that,
to the best of its knowledge and belief, all references that identify the movant as having been
arrested, prosecuted, or convicted have been removed from its publicly available records;
       4.      Unless otherwise ordered by the Court, the Clerk of the United States District
Court for the District of Columbia shall reply in response to any inquiries from the public,
concerning the existence of any record pertaining to the movant’s arrest or any related court
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proceeding in this case that no records are available; and
       5.      The movant may not be found guilty of perjury or giving a false statement by
reason of her failure to recite or acknowledge her arrest and/or charge(s) in this case, in response
to any inquiry made of her for any purpose, except that the movant is required to report the fact
of her arrest and charge(s) in response to a direct question posed in the context of jury selection.


                                       _____________________________
                                       HONORABLE TANYA S. CHUTKAN
                                       UNITED STATES DISTRICT COURT JUDGE




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